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WESTERN DISTRICT OF TENNESSEE 05 JUH _3 m w 15
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UNITED STA'I`ES OF AMERICA

-vs- Case No. 1 :05cr10035-T

JAMES S. HILL AKA "SUGARMAN"

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT
Upon motion of the Defendant, it is ORDERED that a detention hearing is re-set for
TUESDAY, JUNE 7, 2005 at 3:30 P.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom No. 2, Fourth Floor, United States Courthouse and Federal Building, 1 1 l
South Highland, Jackson, TN. Pending this hearing, the defendant shall be held in custody by the

United States Marshal and produced for the hearing.

Date: June 3, 2005

 

 

TU M. PHAM
UNITED sTATEs MAGISTRATE JUDGE

 

lIf not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in l 8 U.S.C. § 3 142(1‘) are present Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial oft`icer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (BIBS) Order of Terrporary Delention

ISTRIC COURT - WSRNETE D"'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 1:05-CR-10035 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

 

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Ste. B-S

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Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
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Honorable .l ames Todd
US DISTRICT COURT

